Case 20-30608   Doc 851-1   Filed 10/18/21 Entered 10/18/21 23:57:02   Desc Exhibit
                                1 pt 1 Page 1 of 32




                        EXHIBIT 1
Case 20-30608         Doc 851-1     Filed 10/18/21 Entered 10/18/21 23:57:02 Desc Exhibit
                                        1 pt 1 Page 2 of 32
   CT Corporation                                            Service of Process
                                           1RC               Transmittal
                                                                           05/20/2020
                                                                           CT Log Number 537688929
   TO:      Johnette Davenport
            Flowserve Corporation
            5215 N 0 Connor Blvd Ste 2300
            Irving, TX 75039-5418


   RE:      Process Served in Illinois
   FOR:     Flowserve US Inc. (Domestic State: DE)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:


   TITLE OF ACTION:                  WANDA M. HELLMER, Special Administrator of the ESTATE OF DAVID C. HELLMER, SR.,
                                     DECEASED, PLTF. vs. A.O. SMITH CORPORATION, ET AL., DFTS. // TO: FLOWSERVE US
                                     I NC.
   DOCUMENT(S)SERVED:

   COURT/AGENCY:                     None Specified
                                     Case # 2020L000345
   NATURE OF ACTION:                 Asbestos Litigation - Fatal Injury/Wrongful Death
   ON WHOM PROCESS WAS SERVED:       C T Corporation System, Chicago, IL
   DATE AND HOUR OF SERVICE:         By Process Server on 05/20/2020 at 12:47
   JURISDICTION SERVED:              Illinois
   APPEARANCE OR ANSWER DUE:         None Specified
   ATTORNEY(S)/ SENDER(S):           None Specified
   ACTION ITEMS:                     CT has retained the current log, Retain Date: 05/20/2020, Expected Purge Date:
                                     05/25/2020

                                     Image SOP

                                     Email Notification, Tiffiney Rogers trogers@flowserve.com

                                     Email Notification, Andrea Santa Maria asantamaria@smsm.com

                                     Email Notification, Johnette Davenport JDavenport@flowserve.com

   SIGNED:                           C T Corporation System
   ADDRESS:                          1999 Bryan Street
                                     Suite 900
                                     Dallas, TX 75201
   For Questions:                    866-665-5799
                                     SouthTeam2@wolterskluwer.com




                                                                           Page 1 of 1 / AS
                                                                           Information displayed on this transmittal is for CT
                                                                           Corporation's record keeping purposes only and is provided to
                                                                           the recipient for quick reference. This information does not
                                                                           constitute a legal opinion as to the nature of action, the
                                                                           amount of damages, the answer date, or any information
                                                                           contained in the documents themselves. Recipient is
                                                                           responsible for interpreting said documents and for taking
                                                                           appropriate action. Signatures on certified mail receipts
                                                                           confirm receipt of package only, not contents.




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                                  1 pt 1 Page 3 of 32


                                                           (7)Wolters Kluwer

                       PROCESS SERVER DELIVERY DETAILS




Date:                    Wed, May 20, 2020

Server Name:             Nicholas Currie

Location:                Chicago, IL-CHI




Entity Served            FLOWSERVE US INC.

Agent Name               C T CORPORATION SYSTEM

Case Number              2020L 000345

J urisdiction             IL-CHI




                                                                           DEBTORS_00009044
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                                               1 pt 1 Page 4 of 32

19-0074M LRW/dg

STATE OF ILLINOIS )
                  )§
COUNTY OF MADISON )

                                  IN THE CIRCUIT COURT,THIRD JUDICIAL CIRCUIT
                                           M ADISON COUNTY, ILLINOIS

 WANDA M. HELLMER, Special Administrator of the
 Estate of DAVID C. HELLMER, SR., Deceased,

                          Plaintiff,                                   No. 20 L 000345
           vs.

 A.O. SMITH CORPORATION, et al.

                          Defendants.

                                                         SUMMONS

Defendant:       FLOWSERVE US INC.,f/k/a FLOWSERVE PUMP CORP., Individually, and as Successor-in-Interest
                 to ALDRITCH PUMP COMPANY, R/A: C.T. Corporation System, 208 S. LaSalle Street, Suite 814,
                 Chicago, IL 60604

                 YOU ARE HEREBY SUMMONED and required to file an answer to the complaint in this case, a
copy of which is hereto attached, or otherwise file your appearance, in the office of the Clerk of this Court within
30 days after service of this summons, exclusive of the day of service. IF YOU FAIL TO DO SO, A JUDGMENT OR
DECREE BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE RELIEF PRAYED IN THE COMPLAINT.

Officer:

              This summons must be returned by the officer or other person to whom it was given for service,
with endorsement thereon of service and fees, if any, immediately after service. If service cannot be made, this
summons shall be returned so endorsed. This summons may not be served later than 30 days after its date.
                           IA/llislFqq• MIMIC vriN Al111A, tha (Nark nf tha rirriait ran& and the. c‘atl
                                  thereof at Edwardsville, Illinois.          5/6/2020 4:20 PM


Name: COONEY & CONWAY                                            Is/ Mark Von Nida
Attorneys for: Plaintiff(s)                                   Clerk ofMtfitstit Court                                   2020
Address: 120 N. LaSalle St                                                                      Clerk of Court
City/State/Zip: Chicago, IL
Telephone:(312) 236-6166




                                                             Date of Service:                                   2020
                                              (To be inserted by Officer on copy left with Defendant or other person)




                                                                                                                   DEBTORS_00009045
      Case 20-30608           Doc 851-1         Filed 10/18/21 Entered 10/18/21 23:57:02               Desc Exhibit
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                                                    1 pt 1 Page 5 of 32                                     Case Number 20201 000345
            19-0074M LRW/ms                                                                                    Date: 3/16/2020 10:17 AM
                                                                                                                          Mark Von Nida
                                                                                                                   Clerk of Circuit Court
            STATE OF ILLINOIS      )                                                     Third Judicial Circuit, Madison County Illinois
                             )§
            COUNTY OF MADISON)

                                          IN THE CIRCUIT COURT,THIRD JUDICIAL CIRCUIT
                                                   MADISON COUNTY, ILLINOIS

             WANDA M. HELLMER, Special Administrator of the                 I N RE: ASBESTOS LITIGATION
             Estate of DAVID C. HELLMER, SR., Deceased,
                                                                            NO:
                                       Plaintiff,                                 2020L 000345
                     VS.


             A.O. SMITH CORPORATION;
             A.W. CHESTERTON COMPANY;
             AFC-HOLCROFT, LLC, Individually, and as Successor-in-
                    Interest to HOLCROFT;
             AFC-HOLCROFT, LLC, Individually, and as Successor-in-
                    Interest to PACIFIC INDUSTRIAL FURNACE
                    COMPANY (PIFC0);
             AIR & LIQUID SYSTEMS CORPORATION, as Successor-
                    by-Merger to BUFFALO PUMPS, INC.;
             AMERON INTERNATIONAL CORPORATION,
                    I ndividually, and as Successor-in-Interest to
                    BONDSTRAND, LTD.;
             AMERON INTERNATIONAL CORPORATION;
             ARKEMA, INC., Individually and as Successor-in-
                    Interest to PENNWALT CORPORATION;
             ARMSTRONG INTERNATIONAL, INC.;
             ARMSTRONG PUMPS, INC.;
             AURORA PUMP COMPANY;
             BASF CORPORATION;
             BEAZER EAST, INC., formerly known as KOPPERS
                    COMPANY,INC.;
             BMI REFRACTORY SERVICES, INC., Successor-in-
                    Interest to ADIENCE, INC.;
             BORGWARNER MORSE TEC LLC, Successor-by-Merger
                    to BORG-WARNER CORPORATION;
             BRYAN STEAM CORPORATION;
             BURNHAM, LLC, f/k/a BURN HAM BOILER CO.;
             BW/IP, INC.;
             CARRIER CORPORATION, a Delaware Corporation;
             CBS CORPORATION, a Delaware Corporation, f/k/a
                    VIACOM INC., Successor by Merger to CBS
                    CORPORATION, a Pennsylvania Corporation,
                    f/k/a WESTINGHOUSE ELECTRIC
                    CORPORATION;




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                                                                                        Desc Exhibit
                                                 1 pt 1 Page 6 of 32
             CHAMPLAIN CABLE CORPORATION, Individually, and
                    as Successor-in-Interest to AMERICAN SUPER
                    TEMPERATURE WIRE, Successor-in-Interest to
                     HAVEG INDUSTRIES, INC. and Successor-by-
                     Merger to HAVEG CORPORATION;
             CHICAGO GASKET COMPANY;
             CHICAGO-WILCOX MANUFACTURING COMPANY;
             CLEAVER-BROOKS, INC.;
             COMPUDYNE CORPORATION, Successor by Merger to
                    YORK-SHIPLEY, INC.;
             COPES-VULCAN, INC.;
             CRANE CO.;
             CROWN, CORK AND SEAL, USA, INC.;
             DANA COMPANIES, LLC;
             DAP, INC.;
             DEZURIK, INC.;
             ELECTROLUX HOME PRODUCTS, INC., as Successor-in-
                    Interest to BLAW-KNOX CONSTRUCTION
                     EQUIPMENT MANUFACTURING
                    CORPORATION;
             F.B. WRIGHT COMPANY, A MICHIGAN CORPORATION;
             FEDERAL-MOGUL U.S. Asbestos Personal Injury Trust,
                    as Successor to the former VELLUMOID
                     Division of FEDERAL-MOGUL;
             FEDERAL-MOGUL U.S. Asbestos Personal Injury Trust,
                    as Successor to FELT-PRODUCTS
                     M ANUFACTURING CO.;
             FLOWSERVE US INC., a.k.a. FLOWSERVE PUMP CORP.,
                     I ndividually, and as Successor-in-Interest to
                     ALDRICH PUMP COMPANY;
             FLOWSERVE US INC., as Successor-in-Interest to
                     D URAMETALLIC CORPORATION;
             FLOWSERVE US, INC. a.k.a. FLOWSERVE PUMP CORP.,
                     I ndividually, and as Successor-in-Interest to
                    THE EDWARD VALVE AND MANUFACTURING
                     COMPANY, and as Successor-In-Interest to
                     ROCKWELL MANUFACTURING COMPANY;
             FLOWSERVE US, INC., a.k.a. FLOWSERVE PUMP CORP.,
                     Individually, and as Successor-in-Interest to
                     DURCO PUMPS;
             FMC CORPORATION, Individually, and as Successor-in-
                     Interest to CHICAGO PUMP COMPANY;
             FMC CORPORATION;
             FOSECO, INC.;
             FOSTER WHEELER ENERGY CORPORATION;
             GARDNER DENVER, INC., Individually, and as
                    Successor-in-Interest to NASH ENGINEERING
                     COMPANY;
             GARDNER DENVER, INC.;
             GENERAL ELECTRIC COMPANY;
             GENUINE PARTS CO.;


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                                                  1 pt 1 Page 7 of 32
             GOULDS PUMPS, INC.;
             G REENE, TWEED & CO.;
             GRINNELL, LLC;
             H.B. FULLER COMPANY;
             HOWDEN BUFFALO, INC.;
             I MO INDUSTRIES, INC.;
             I NGERSOLL-RAND COMPANY;
             I NTERLINE BRANDS, INC., f/k/a WILMAR INDUSTRIES,
                     I NC.;
             I NTERLINE BRANDS, INC., Individually and as
                     Successor-in-Interest to WILMAR INDUSTRIES,
                     I NC.;
             ITT CORPORATION f/k/a BELL & GOSSETT PUMP
                     COMPANY;
             ITT CORPORATION, Individually, and as Successor-in-
                     Interest to HOFFMAN SPECIALTY;
             ITT INDUSTRIES, INC., Individually, and as Successor-in-
                     Interest to McDonnell & Miller, Inc.;
             J.A. SEXAUER, INC., A NEW YORK CORPORATION;
             JOHN CRANE, INC. f/k/a CRANE PACKING COMPANY;
             JOY GLOBAL UNDERGROUND MINING, LLC f/k/a JOY
                     TECHNOLOGIES, LLC;
             KELSEY-HAYES COMPANY;
             LINDBERG;
             MARSHALL ENGINEERED PRODUCTS COMPANY, LLC;
             McMASTER-CARR SUPPLY COMPANY;
             METROPOLITAN LIFE INSURANCE CO.;
             PARKER-HANNIFIN CORPORATION;
             PHARMACIA LLC f/k/a PHARMACIA CORPORATION
                     f/k/a MONSANTO COMPANY;
             PNEUMO-ABEX, as Successor-in-Interest to ABEX
                     CORPORATION;
             RIC-WIL, INC.;
             RILEY POWER, INC.;
             ROGER ZATKOFF COMPANY;
             RUST ENGINEERING AND CONSTRUCTION, INC.;
             SEALITE, INC.;
             SEPCO CORP.;
             SPENCE ENGINEERING COMPANY, INC.;
             SPIRAX SARCO, INC.;
             SPRINKMANN SONS CORPORATION OF WISCONSIN;
             STANDARD FUEL ENGINEERING COMPANY;
             STERLING FLUID SYSTEMS(USA) LLC;
             SURFACE COMBUSTION, INC.;
             TACO, INC.;
             TENNECO, INC.;
             THIEM CORPORATION and its Division, UNIVERSAL
                     REFRACTORIES COMPANY;
             TRANE U.S., INC.;
             TWIN CITY CLARAGE, INC.;
             U NION CARBIDE CORPORATION;


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                                                    1 pt 1 Page 8 of 32
              U NION PUMPS COMPANY f/k/a David Brown Union
                     Pump Company;
              U NIROYAL, INC.;
              WARREN PUMPS, LLC;
              WATTS REGULATOR COMPANY;
              WEIL-MCLAIN;
              WELTON RUBBER COMPANY, Individually, and as
                     Successor-in-Interest to WELTON RUBBER AND
                     ASBESTOS COMPANY;
              WILMAR INDUSTRIES, INC., Individually and Successor-
                     in-Interest to SEXAUER, INC.;
              WTI-RUST HOLDINGS, INC. f/k/a RUST
                     I NTERNATIONAL, INC., a Delaware Corporation.
                     in their own right, and as Successor-in-Interest
                     to M.W. KELLOGG COMPANY and SWIN DELL
                     RUST DIVISION;
              YUBA HEAT TRANSFER, LLC;
              ZURN INDUSTRIES, LC f/k/a ZURN INDUSTRIES, INC.,

                                       Defendants.

                                                         COMPLAINT AT LAW

                                                                  COUNT 1

                     NOW COMES the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

             HELLMER, SR., Deceased, by and through her attorneys, COONEY and CONWAY, and for her cause of

             action against the Defendants, individually and concurrently, states:

                     1.      The Plaintiff, WANDA M. HELLMER, resides in South Lyon, Michigan.

                     2.      The Plaintiff is the duly appointed Special Administrator of the Estate of DAVID C.

             HELLMER, SR., Deceased, pursuant to an Order of the Circuit Court of Madison County, Illinois.

                     3.       Plaintiff brings this action pursuant to 740 ILCS 180/1-et seq.

                     4.       WANDA M. HELLMER, Special Administrator of the Estate of DAVID C. HELLMER, SR.,

             Deceased, brings this action for use and benefit of the surviving heirs of the Decedent:

                                                               Surviving Heirs:

                                          WANDA M. HELLMER                        Spouse
                                          HEDWIG HELLMER                          Child
                                          KEN HELLMER                             Child
                                          M AGDALEN HELLMER                       Child




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                    5.      The Plaintiffs Decedent, DAVID C. HELLMER, SR., was employed from 1958 to 1979 in

            various capacities, including Pipefitter and Steamfitter, at various locations.

                    6.      During the course of his employment, non-occupational work projects (including, but not

            limited to, home and automotive repairs, maintenance and remodeling) and/or in other ways, the

            Plaintiffs Decedent, DAVID C. HELLMER,SR., was exposed to and inhaled, ingested or otherwise absorbed

            asbestos fibers emanating from certain products that he worked with and around which were

            manufactured, sold, distributed, marketed or installed by the Defendants: A.W. CHESTERTON COMPANY;

            CRANE CO.; H.B. FULLER COMPANY;UNION CARBIDE CORPORATION; UNIROYAL,INC.; CROWN,CORK AND

            SEAL, USA, INC.; JOHN CRANE, INC. f/k/a CRANE PACKING COMPANY; DANA COMPANIES, LLC; FEDERAL-

            MOGUL U.S. Asbestos Personal Injury Trust, as Successor to the former VELLUMOID Division of FEDERAL-

            MOGUL; FEDERAL-MOGUL U.S. Asbestos Personal Injury Trust, as Successor to FELT-PRODUCTS

            MANUFACTURING CO.; SEPCO CORP.; PARKER-HANNIFIN CORPORATION; CHICAGO GASKET COMPANY;

            GREENE, TWEED & CO.; FLOWSERVE US INC., as Successor-in-Interest to DURAMETALLIC CORPORATION;

            DAP, INC.; INGERSOLL-RAND COMPANY; GOULDS PUMPS, INC.; STERLING FLUID SYSTEMS(USA) LLC; FMC

            CORPORATION; GARDNER DENVER, INC.; JOY GLOBAL UNDERGROUND MINING, LLC f/k/a JOY

            TECHNOLOGIES, LLC; IMO INDUSTRIES, INC.; BW/IP, INC.; AIR & LIQUID SYSTEMS CORPORATION, as

            Successor-by-Merger to BUFFALO PUMPS, INC.; ITT CORPORATION f/k/a BELL & GOSSETT PUMP

            COMPANY; AURORA PUMP COMPANY; FLOWSERVE US, INC., a.k.a. FLOWSERVE PUMP CORP.,

            Individually, and as Successor-in-Interest to DURCO PUMPS; ARMSTRONG PUMPS, INC.; TACO, INC.; FMC

            CORPORATION, Individually, and as Successor-in-Interest to CHICAGO PUMP COMPANY; ITT

            CORPORATION, Individually, and as Successor-in-Interest to HOFFMAN SPECIALTY; WARREN PUMPS, LLC;

            ARMSTRONG INTERNATIONAL, INC.; SPIRAX SARCO, INC.; GENERAL ELECTRIC COMPANY; CBS

            CORPORATION, a Delaware Corporation, f/k/a VIACOM INC., Successor by Merger to CBS CORPORATION,

            a Pennsylvania Corporation, f/k/a WESTINGHOUSE ELECTRIC CORPORATION; FLOWSERVE US, INC. a.k.a.

            FLOWSERVE PUMP CORP., Individually, and as Successor-in-Interest to THE EDWARD VALVE AND

            MANUFACTURING COMPANY, and as Successor-In-Interest to ROCKWELL MANUFACTURING COMPANY;


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                                                   1 pt 1 Page 10 of 32
            GRINNELL, LLC; DEZURIK, INC.; MARSHALL ENGINEERED PRODUCTS COMPANY, LLC; SPENCE

             ENGINEERING COMPANY, INC.; COPES-VULCAN, INC.; FOSTER WHEELER ENERGY CORPORATION; RILEY

            POWER, INC.; CLEAVER-BROOKS, INC.; A.O. SMITH CORPORATION; TRANE U.S., INC.; ZURN INDUSTRIES,

             LLC f/k/a ZURN INDUSTRIES, INC.; WEIL-MCLAIN; BURNHAM, LLC, f/k/a BURNHAM BOILER CO.; YUBA

            HEAT TRANSFER, LLC; CARRIER CORPORATION, a Delaware Corporation; BRYAN STEAM CORPORATION;

            COMPUDYNE CORPORATION, Successor by Merger to YORK-SHIPLEY, INC.; HOWDEN BUFFALO, INC.;

            TWIN CITY CLARAGE, INC.; BEAZER EAST, INC., formerly known as KOPPERS COMPANY, INC.; THIEM

            CORPORATION and its Division, UNIVERSAL REFRACTORIES COMPANY; FOSECO,INC.; LINDBERG;SURFACE

            COMBUSTION, INC.; RUST ENGINEERING AND CONSTRUCTION, INC.; WTI-RUST HOLDINGS, INC. f/k/a

             R UST INTERNATIONAL, INC., a Delaware Corporation in their own right, and as Successor-in-Interest to

            M.W. KELLOGG COMPANY and SWINDELL RUST DIVISION; PNEUMO-ABEX, as Successor-in-Interest to

            ABEX CORPORATION; BORGWARNER MORSE TEC LLC, Successor-by-Merger to BORG-WARNER

            CORPORATION; GENUINE PARTS CO.; TENNECO,INC.; SPRINKMANN SONS CORPORATION OF WISCONSIN;

            BMI REFRACTORY SERVICES, INC., Successor-in-Interest to ADIENCE, INC.; McMASTER-CARR SUPPLY

            COMPANY; AFC-HOLCROFT, LLC, Individually, and as Successor-in-Interest to HOLCROFT; AFC-HOLCROFT,

            LLC, Individually, and as Successor-in-Interest to PACIFIC INDUSTRIAL FURNACE COMPANY (PIFC0);

            AMERON INTERNATIONAL CORPORATION, Individually, and as Successor-in-Interest to BONDSTRAND,

            LTD.; AMERON INTERNATIONAL CORPORATION; CHAMPLAIN CABLE CORPORATION, Individually, and as

            Successor-in-Interest to AMERICAN SUPER TEMPERATURE WIRE, Successor-in-Interest to HAVEG

            I NDUSTRIES,     INC.   and    Successor-by-Merger       to    HAVEG   CORPORATION;    CHICAGO-WILCOX

            MANUFACTURING COMPANY; ELECTROLUX HOME PRODUCTS, INC., as Successor-in-Interest to BLAW-

            KNOX CONSTRUCTION EQUIPMENT MANUFACTURING CORPORATION; F.B. WRIGHT COMPANY, A

            MICHIGAN CORPORATION; FLOWSERVE US INC., a.k.a. FLOWSERVE PUMP CORP., Individually, and as

            Successor-in-Interest to ALDRICH PUMP COMPANY;                GARDNER DENVER, INC., Individually, and as

            Successor-in-Interest to NASH ENGINEERING COMPANY; INTERLINE BRANDS, INC., f/k/a WILMAR

            I NDUSTRIES, INC.; INTERLINE BRANDS, INC., Individually and as Successor-in-Interest to WILMAR


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                                                                                                           DEBTORS_00009051
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             I NDUSTRIES, INC.; ITT INDUSTRIES, INC., Individually, and as Successor-in-Interest to McDonnell & Miller,

             Inc.; J.A.SEXAUER, INC., A NEW YORK CORPORATION; RIC-WIL, INC.; ROGER ZATKOFF COMPANY;SEALITE,

             I NC.; STANDARD FUEL ENGINEERING COMPANY; UNION PUMPS COMPANY f/k/a David Brown Union

             Pump Company; WATTS REGULATOR COMPANY; WELTON RUBBER COMPANY, Individually, and as

             Successor-In-Interest to WELTON RUBBER AND ASBESTOS COMPANY; WILMAR INDUSTRIES, INC.,

             Individually and Successor-in-Interest to SEXAUER, INC.("Defendants"). (See Exhibit "A" Attached Hereto)

                     7.       At all times herein set forth, the Defendants' products were being used in the manner and

             for the purposes for which they were intended.

                     8.       DAVID C. HELLMER, SR.'s exposure to and inhalation, ingestion or absorption of the

             asbestos fibers emanating from the above-mentioned products was foreseeable and could or should have

             been anticipated by the Defendants.

                     9.       The Defendants knew or should have known that the asbestos fibers contained in their

             products had a toxic, poisonous and highly deleterious effect upon the health of persons inhaling,

             ingesting or otherwise absorbing them.

                     10.      The Plaintiffs Decedent, DAVID C. HELLMER, SR., suffered from an asbestos-related

             disease, including Mesothelioma, and became aware of said disease on or about January 9, 2019, and,

             subsequently thereto, became aware that the same was wrongfully caused.

                     11.      At all times herein relevant, the Defendants had a duty to exercise reasonable care and

             caution for the safety of the Plaintiffs Decedent and others working with and around the asbestos-

             containing products of the Defendants.

                     12.      The Defendants failed to exercise ordinary care and caution for the safety of DAVID C.

             HELLMER, SR. in one or more of the following respects:


                             (a)      Included asbestos in their products, even though it was foreseeable and
                                      could or should have been anticipated that persons such as DAVID C.
                                      HELLMER, SR. working with or around them would inhale, ingest or
                                      otherwise absorb asbestos;




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                                                                                                             DEBTORS_00009052
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                           (b)      Included asbestos in their products when the Defendants knew or should
                                    have known that said asbestos fibers would have a toxic, poisonous and
                                    highly deleterious effect upon the health of persons inhaling, ingesting or
                                    otherwise absorbing them;

                           (c)      Included asbestos in their products when adequate substitutes for the
                                    asbestos in them was available;

                           (d)      Failed to provide any or adequate warnings to persons working with and
                                    around the products of the dangers of inhaling, ingesting or otherwise
                                    absorbing the asbestos fibers contained in them;

                           (e)      Failed to provide any or adequate instructions concerning the safe
                                    methods of working with and around the products, including specific
                                    instructions on how to avoid inhaling, ingesting or otherwise absorbing
                                    the asbestos fibers in them;

                           (f)      Failed to conduct tests on the asbestos-containing products
                                    manufactured, sold, delivered or installed by the Defendants in order to
                                    determine the hazards to which workers such as DAVID C. HELLMER,SR.
                                    might be exposed while working with the products;

                           (g)      Marketed and/or distributed a product containing asbestos fibers;

                           (h)      Failed to provide instruction as to what appropriate apparel, if any, would
                                    be safe to wear while using and/or working in proximity to the
                                    Defendants' products;

                           (i)      Failed to develop alternative, non-asbestos containing products in a
                                    timely manner;

                           (j)      Failed to inform users that asbestos containing products caused
                                    asbestosis and cancer in laboratory animals and humans; and,

                           (k)      Failed to provide safe packaging for its products.




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                                                                                                              DEBTORS_00009053
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                     13.      That as a direct and proximate result of one or more of the foregoing acts or omissions

             on the part of the defendants, DAVID C. HELLMER,SR. was exposed to and inhaled, ingested or otherwise

             absorbed asbestos fibers causing DAVID C. HELLMER,SR. to develop Mesothelioma, which ultimately led

             to his death on March 2, 2019; DAVID C. HELLMER, SR., prior to his death, was compelled to expend and

             become liable for large sums of monies for hospital, medical and other health care services necessary for

            the treatment of his asbestos-induced.disease and conditions; DAVID C. HELLMER, SR. prior to his death,

             experienced great physical pain and mental anguish as a result of the inhalation, ingestion and absorption

             of said asbestos fibers; that as a further result of his asbestos-induced disease and conditions, DAVID C.

             HELLMER, SR. was hindered and prevented from pursuing his normal course of employment, thereby

             losing large sums of money which otherwise would have accrued to him and his estate; further, by reason

             of the death of DAVID C. HELLMER,SR., his family has been deprived of his means of support and has lost

             the society of DAVID C. HELLMER, SR.; lastly, substantial sums of money were expended by DAVID C.

             HELLMER,SR.'s Estate for funeral and burial.

                     WHEREFORE,the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

             HELLMER, SR., Deceased, demands judgment against the Defendants, in an amount in excess of

             jurisdictional amount, plus costs.

                                                                COUNT 2

                      NOW COMES the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

             HELLMER, SR., Deceased, by and through her attorneys, COONEY and CONWAY, and for her cause of

             action against the Defendants, states:

                      1-13.   Plaintiff adopts and re-alleges paragraphs 1-13 of Count 1 as paragraphs 1-13 of Count 2

             as though fully set forth herein.

                      14.     WANDA M. HELLMER is the duly appointed Administrator of the Estate of DAVID C.

             HELLMER,SR., Deceased.




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                          15.     Plaintiff brings this action pursuant to the Illinois Survival Act, 755 ILCS 5/27-6, for the

                  disability, physical and mental suffering of Plaintiff's Decedent following, and as a result of, the aforesaid

                  wrongful acts and/or omissions of each of the Defendants.

                          WHEREFORE,the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

                  HELLMER, SR., Deceased, demands judgment against the Defendants, in an amount in excess of

                  jurisdictional amount, plus costs.

                                                                     COUNT 3

                                                             (PREMISES LIABILITY)

                          NOW COMES the Plaintiff, WANDA M. HELLMER,Special Administrator of the Estate of DAVID C.

              •   HELLMER, SR., Deceased, by and through her attorneys, COONEY AND CONWAY, and complaining of the

                  Defendant, AFC-HOLCROFT, LLC, Individually, and as Successor-in-Interest to HOLCROFT, alleges and says:

                          1.      The Defendant, AFC-HOLCROFT, LLC, Individually, and as Successor-in-Interest to

                  HOLCROFT, owned, operated, managed, maintained and controlled the premises located at Holcroft &

                  Company (Livonia, MI)from 1964 to 1979.

                          2.      The Defendant was and is doing business within the State of Illinois and has established

                  the necessary minimal contacts within the State of Illinois.

                          3.      At the said times and places, the Plaintiff's Decedent, DAVID C. HELLMER,SR., was lawfully

                  on the premises owned and operated by the Defendant.

                          4.      At all times complained of herein, the Defendant had a duty to exercise reasonable care

                  in the ownership and maintenance of its premises so that those lawfully invited upon the premises,

                  including the Plaintiff's Decedent, would not be injured.

                          5.      At the time and places aforesaid, the Plaintiff's Decedent, due to the negligence of the

                  Defendant, as will be more specifically alleged hereinafter, was caused to work with and/or around

                  asbestos and friable asbestos-containing products and was frequently and regularly exposed to friable

                  asbestos materials while upon the defendant's premises.




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                     6.      Notwithstanding its duties at said times and places, the Defendant was then and there

            guilty of one or more of the following wrongful acts and/or omissions:

                             (a)     Carelessly and negligently permitted friable asbestos containing products
                                     to be used on its premises, when it knew, or in the exercise of ordinary
                                     care, should have known of the dangerous, deadly and carcinogenic
                                     propensities of asbestos;

                            (b)      Carelessly and negligently failed to provide any or any adequate warnings
                                     of the dangers of asbestos when it knew or in the exercise of ordinary
                                     care, should have known of the dangerous, deadly and carcinogenic
                                     propensities of asbestos, and that the Plaintiffs Decedent did not know
                                     of said dangers;

                            (c)      Otherwise, carelessly and negligently allowed the Plaintiffs Decedent to
                                     be exposed to asbestos when it knew or in the exercise of ordinary care,
                                     should have known of the dangerous, deadly and carcinogenic
                                     propensities of asbestos and that the Plaintiff's Decedent was being
                                     exposed to asbestos on its premises;

                            (d)      Otherwise carelessly and negligently failed to exercise reasonable care
                                     for the safety of those lawfully upon its premises, including the Plaintiff's
                                     Decedent.

                    7.       The said frequent and regular exposure to asbestos dust and asbestos fibers on the

            Defendant's premises has directly and proximately caused the Plaintiff's Decedent, DAVID C. HELLMER,

            SR., to develop an asbestos-related disease, specifically, Mesothelioma, and these injuries were not

            discovered until January 9, 2019, and which caused his death on March 2, 2019.

                    8.       WANDA M. HELLMER, Special Administrator of the Estate of DAVID C. HELLMER, SR.,

            Deceased, brings this action for use and benefit of the surviving heirs of the Decedent:

                                                              Surviving Heirs

                                          WANDA M. HELLMER                      Spouse
                                          HEDWIG HELLMER                        Child
                                          KEN HELLMER                           Child
                                          M AGDALEN HELLMER                     Child

                    9.       By reason of the wrongful death of the Plaintiff's Decedent,the aforesaid next-of-kin have

            been caused to suffer great pecuniary losses and have been deprived of valuable service which the

            Deceased, DAVID C. HELLMER, SR., was accustomed to perform but for his death.




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                    WHEREFORE,the Plaintiff, WANDA M. HELLMER,Special Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased, demands judgment against the Defendant, AFC-HOLCROFT, LLC, Individually,

            and as Successor-in-Interest to HOLCROFT, in an amount in excess of the jurisdictional amount.

                                                              COUNT 4

                    NOW COMES the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased, by and through her attorneys, COONEY AND CONWAY, and complaining of the

            Defendant, AFC-HOLCROFT, LLC, Individually, and as Successor-in-Interest to HOLCROFT, alleges and says:

                    1-7.    Plaintiff adopts and re-alleges paragraphs 1-7 of Count 3 as paragraphs 1-7 of Count 4 as

            though fully set forth herein.

                    8.      WANDA M. HELLMER is the duly appointed Administrator of the Estate of DAVID C.

            HELLMER,SR., Deceased.

                    9.      Plaintiff brings this action pursuant to the Illinois Survival Act, 755 ILC.S 5/27-6, for the

            disability, physical and mental suffering of Plaintiff's Decedent following, and as a result of the aforesaid

            wrongful acts and/or omissions of each of the Defendants.

                    WHEREFORE,the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased, demands judgment against the Defendant, AFC-HOLCROFT, LLC, Individually,

            and as Successor-in-Interest to HOLCROFT, in an amount in excess of jurisdictional amount, plus costs.

                                                              COUNTS

                                                      (PREMISES LIABILITY)

                    NOW COMES the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased, by and through her attorneys, COONEY AND CONWAY, and complaining of the

            Defendant, BASF CORPORATION, alleges and says:

                    1.      The Defendant, BASF CORPORATION, owned, operated, managed, maintained and

            controlled the premises located at Wyandotte Chemical (a/k/a BASF)(Wyandotte, MI)from 1964 to 1979.

                    2.      The Defendant was and is doing business within the State of Illinois and has established

            the necessary minimal contacts within the State of Illinois.


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                     3.       At the said times and places, the Plaintiff's Decedent, DAVID C. HELLMER,SR., was lawfully

             on the premises owned and operated by the Defendant.

                     4.       At all times complained of herein, the Defendant had a duty to exercise reasonable care

             in the ownership and maintenance of its premises so that those lawfully invited upon the premises,

             including the Plaintiff's Decedent, would not be injured.

                     5.       At the time and places aforesaid, the Plaintiff's Decedent, due to the negligence of the

             Defendant, as will be more specifically alleged hereinafter, was caused to work with and/or around

             asbestos and friable asbestos-containing products and was frequently and regularly exposed to friable

             asbestos materials while upon the defendant's premises.

                     6.       Notwithstanding its duties at said times and places, the Defendant was then and there

            guilty of one or more of the following wrongful acts and/or omissions:

                             (a)      Carelessly and negligently permitted friable asbestos containing products
                                      to be used on its premises, when it knew, or in the exercise of ordinary
                                      care, should have known of the dangerous, deadly and carcinogenic
                                      propensities of asbestos;

                             (b)      Carelessly and negligently failed to provide any or any adequate warnings
                                      of the dangers of asbestos when it knew or in the exercise of ordinary
                                      care, should have known of the dangerous, deadly and carcinogenic
                                      propensities of asbestos, and that the Plaintiff's Decedent did not know
                                      of said dangers;

                             (c)      Otherwise, carelessly and negligently allowed the Plaintiff's Decedent to
                                      be exposed to asbestos when it knew or in the exercise of ordinary care,
                                      should have known of the dangerous, deadly and carcinogenic
                                      propensities of asbestos and that the Plaintiff's Decedent was being
                                      exposed to asbestos on its premises;

                             (d)      Otherwise carelessly and negligently failed to exercise reasonable care
                                      for the safety of those lawfully upon its premises, including the Plaintiff's
                                      Decedent.

                     7.      The said frequent and regular exposure to asbestos dust and asbestos fibers on the

             Defendant's premises has directly and proximately caused the Plaintiff's Decedent, DAVID C. HELLMER,

            SR., to develop an asbestos-related disease, specifically, Mesothelioma, and these injuries were not

             discovered until January 9, 2019, and which caused his death on March 2, 2019.




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                    8.       WANDA M. HELLMER, Special Administrator of the Estate of DAVID C. HELLMER, SR.,

            Deceased, brings this action for use and benefit of the surviving heirs of the Decedent:

                                                             Surviving Heirs

                                         WANDA M. HELLMER                      Spouse
                                         HEDWIG HELLMER                        Child
                                         KEN HELLMER                           Child
                                         MAGDALEN HELLMER                      Child

                    9.       By reason of the wrongful death of the Plaintiff's Decedent,the aforesaid next-of-kin have

            been caused to suffer great pecuniary losses and have been deprived of valuable service which the

            Deceased, DAVID C. HELLMER, SR., was accustomed to perform but for his death.

                     WHEREFORE,the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased, demands judgment against the Defendant, BASF CORPORATION, in an amount

            i n excess of the jurisdictional amount.

                                                                 COUNT 6

                     NOW COMES the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased, by and through her attorneys, COONEY AND CONWAY, and complaining of the

            Defendant, BASF CORPORATION, alleges and says:

                    1-7.     Plaintiff adopts and re-alleges paragraphs 1-7 of Count 5 as paragraphs 1-7 of Count 6 as

            though fully set forth herein.

                    8.       WANDA M. HELLMER is the duly appointed Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased.

                    9.       Plaintiff brings this action pursuant to the Illinois Survival Act, 755 ILCS 5/27-6, for the

            disability, physical and mental suffering of Plaintiffs Decedent following, and as a result of the aforesaid

            wrongful acts and/or omissions of each of the Defendants.

                     WHEREFORE, the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased, demands judgment against the Defendant, BASF CORPORATION, in an amount

            i n excess of jurisdictional amount, plus costs.




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                                                               COUNT 7

                                                       (PREMISES LIABILITY)

                     NOW COMES the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased, by and through her attorneys, COONEY AND CONWAY, and complaining of the

            Defendant, PHARMACIA LLC f/k/a PHARMACIA CORPORATION f/k/a MONSANTO COMPANY, alleges and

            says:

                    1.       The Defendant, PHARMACIA LLC f/k/a PHARMACIA CORPORATION f/k/a MONSANTO •

            COMPANY, owned, operated, managed, maintained and controlled the premises located at Monsanto

            Chemical Plant (Detroit/Trenton, MI)from 1964 to 1979.

                    2.      The Defendant was and is doing business within the State of Illinois and has established

            the necessary minimal contacts within the State of Illinois.

                    3.       At the said times and places,the Plaintiff's Decedent, DAVID C. HELLMER,SR., was lawfully

            on the premises owned and operated by the Defendant.

                    4.       At all times complained of herein, the Defendant had a duty to exercise reasonable care

            in the ownership .and maintenance of its premises so that those lawfully invited upon the premises,

            including the Plaintiff's Decedent, would not be injured.

                    5.       At the time and places aforesaid, the Plaintiff's Decedent, due to the negligence of the

            Defendant, as will be more specifically alleged hereinafter, was caused to work with and/or around

            asbestos and friable asbestos-containing products and was frequently and regularly exposed to friable

            asbestos materials while upon the defendant's premises.

                    6.       Notwithstanding its duties at said times and places, the Defendant was then and there

            guilty of one or more of the following wrongful acts and/or omissions:

                            (a)      Carelessly and negligently permitted friable asbestos containing products
                                     to be used on its premises, when it knew, or in the exercise of ordinary
                                     care, should have known of the dangerous, deadly and carcinogenic
                                     propensities of asbestos;




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                             (b)     Carelessly and negligently failed to provide any or any adequate warnings
                                     of the dangers of asbestos when it knew or in the exercise of ordinary
                                     care, should have known of the dangerous, deadly and carcinogenic
                                     propensities of asbestos, and that the Plaintiffs Decedent did not know
                                     of said dangers;

                             (c)     Otherwise, carelessly and negligently allowed the Plaintiffs Decedent to
                                     be exposed to asbestos when it knew or in the exercise of ordinary care,
                                     should have known of the dangerous, deadly and carcinogenic
                                     propensities of asbestos and that the Plaintiff's Decedent was being
                                     exposed to asbestos on its premises;

                            (d)      Otherwise carelessly and negligently failed to exercise reasonable care
                                     for the safety of those lawfully upon its premises, including the Plaintiffs
                                     Decedent.

                    7.       The said frequent and regular exposure to asbestos dust and asbestos fibers on the

            Defendant's premises has directly and proximately caused the Plaintiff's Decedent, DAVID C. HELLMER,

            SR., to develop an asbestos-related disease, specifically, Mesothelioma, and these injuries were not

            discovered until January 9, 2019, and which caused his death on March 2, 2019.

                    8.       WANDA M. HELLMER, Special Administrator of the Estate of DAVID C. HELLMER, SR.,

            Deceased, brings this action for use and benefit of the surviving heirs of the Decedent:

                                                              Surviving Heirs

                                         WANDA M. HELLMER                       Spouse
                                         HEDWIG HELLMER                         Child
                                         KEN HELLMER                            Child
                                         MAGDALEN HELLMER                       Child

                    9.       By reason of the wrongful death of the Plaintiff's Decedent,the aforesaid next-of-kin have

            been caused to suffer great pecuniary losses and have been deprived of valuable service which the

            Deceased, DAVID C. HELLMER, SR., was accustomed to perform but for his death.

                    WHEREFORE, the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased, demands judgment against the Defendant, PHARMACIA LLC f/k/a PHARMACIA

            CORPORATION f/k/a MONSANTO COMPANY,in an amount in excess of the jurisdictional amount.
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                                                                COUNT 8

                     NOW COMES the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

             HELLMER, SR., Deceased, by and through her attorneys, COONEY AND CONWAY, and complaining of the

            Defendant, PHARMACIA LLC f/k/a PHARMACIA CORPORATION f/k/a MONSANTO COMPANY, alleges and

            says:

                     1-7.    Plaintiff adopts and re-alleges paragraphs 1-7 of Count 7 as paragraphs 1-7 of Count 8 as

            though fully set forth herein.

                    8.       WANDA M. HELLMER is the duly appointed Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased.

                    9.       Plaintiff brings this action pursuant to the Illinois Survival Act, 755 ILCS 5/27-6, for the

            disability, physical and mental suffering of Plaintiff's Decedent following, and as a result of the aforesaid

            wrongful acts and/or omissions of each of the Defendants.

                     WHEREFORE, the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased, demands judgment against the Defendant, PHARMACIA LLC f/k/a PHARMACIA

            CORPORATION f/k/a MONSANTO COMPANY, in an amount in excess of jurisdictional amount, plus costs.

                                                                COUNT 9

                                                       (PREMISES LIABILITY)

                     NOW COMES the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased, by and through her attorneys, COONEY AND CONWAY, and complaining of the

            Defendant, ARKEMA,INC., Individually and as Successor-in-Interest to PENNWALT CORPORATION,alleges

            and says:

                     1.      The Defendant, ARKEMA, INC., Individually and as Successor-in-Interest to PENNWALT

            CORPORATION,owned, operated, managed, maintained and controlled the premises located at Pennsalt

            Chemical Plant(Wyandotte, MI)from 1964 to 1979.

                     2.      The Defendant was and is doing business within the State of Illinois and has established

            the necessary minimal contacts within the State of Illinois.


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                     3.      At the said times and places, the Plaintiff's Decedent, DAVID C. HELLMER,SR., was lawfully

            on the premises owned and operated by the Defendant.

                    4.       At all times complained of herein, the Defendant had a duty to exercise reasonable care

            in the ownership and maintenance of its premises so that those lawfully invited upon the premises,

            including the Plaintiff's Decedent, would not be injured.

                    5.       At the time and places aforesaid, the Plaintiff's Decedent, due to the negligence of the

            Defendant, as will be more specifically alleged hereinafter, was caused to work with and/or around

            asbestos and friable asbestos-containing products and was frequently and regularly exposed to friable

            asbestos materials while upon the defendant's premises.

                    6.       Notwithstanding its duties at said times and places, the Defendant was then and there

            guilty of one or more of the following wrongful acts and/or omissions:

                            (a)      Carelessly and negligently permitted friable asbestos containing products
                                     to be used on its premises, when it knew, or in the exercise of ordinary
                                     care, should have known of the dangerous, deadly and carcinogenic
                                     propensities of asbestos;

                            (b)      Carelessly and negligently failed to provide any or any adequate warnings
                                     of the dangers of asbestos when it knew or in the exercise of ordinary
                                     care, should have known of the dangerous, deadly and carcinogenic
                                     propensities of asbestos, and that the Plaintiff's Decedent did not know
                                     of said dangers;

                            (c)      Otherwise, carelessly and negligently allowed the Plaintiff's Decedent to
                                     be exposed to asbestos when it knew or in the exercise of ordinary care,
                                     should have known of the dangerous, deadly and carcinogenic
                                     propensities of asbestos and that the Plaintiff's Decedent was being
                                     exposed to asbestos on its premises;

                            (d)     Otherwise carelessly and negligently failed to exercise reasonable care
                                    for the safety of those lawfully upon its premises, including the Plaintiff's
                                    Decedent.

                    7.      The said frequent and regular exposure to asbestos dust and asbestos fibers on the

            Defendant's premises has directly and proximately caused the Plaintiff's Decedent, DAVID C. HELLMER,

           SR., to develop an asbestos-related disease, specifically, Mesothelioma, and these injuries were not

           discovered until January 9, 2019, and which caused his death on March 2, 2019.




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                     8.      WANDA M. HELLMER, Special Administrator of the Estate of DAVID C. HELLMER, SR.,

            Deceased, brings this action for use and benefit of the surviving heirs of the Decedent:

                                                              Surviving Heirs

                                          WANDA M. HELLMER                      Spouse
                                          HEDWIG HELLMER                        Child
                                          KEN HELLMER                           Child
                                          MAGDALEN HELLMER                      Child

                    9.       By reason of the wrongful death of the Plaintiff's Decedent,the aforesaid next-of-kin have

            been caused to suffer great pecuniary losses and have been deprived of valuable service which the

            Deceased, DAVID C. HELLMER, SR., was accustomed to perform but for his death.

                     WHEREFORE,the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased, demands judgment against the Defendant, ARKEMA, INC., Individually and as

            Successor-in-Interest to PENNWALT CORPORATION, in an amount in excess of the jurisdictional amount.

                                                                COUNT 10

                     NOW COMES the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased, by and through her attorneys, COONEY AND CONWAY, and complaining of the

            Defendant, ARKEMA, INC., Individually and as Successor-in-Interest to PENNWALT CORPORATION, alleges

            and says:

                    1-7.     Plaintiff adopts and re-alleges paragraphs 1-7 of Count 9 as paragraphs 1-7 of Count 10

            as though fully set forth herein.

                    8.       WANDA M. HELLMER is the duly appointed Administrator of the Estate of DAVID C.

            HELLMER,SR., Deceased.

                    9.       Plaintiff brings this action pursuant to the Illinois Survival Act, 755 ILCS 5/27-6, for the

            disability, physical and mental suffering of Plaintiffs Decedent following, and as a result of the aforesaid

            wrongful acts and/or omissions of each of the Defendants.




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                     WHEREFORE, the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased, demands judgment against the Defendant, ARKEMA, INC., Individually and as

            Successor-in-Interest to PENNWALT CORPORATION, in an amount in excess of jurisdictional amount, plus

            costs.

                                                              COUNT 11

                                                      (PREMISES LIABILITY)

                     NOW COMES the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased, by and through her attorneys, COONEY AND CONWAY, and complaining of the

            Defendant, KELSEY-HAYES COMPANY, alleges and says:

                     1.     The Defendant, KELSEY-HAYES COMPANY, owned, operated, managed, maintained and

            controlled the premises located at Kelsey-Hayes Plant (Detroit, MI)from 1959 to 1964.

                     2.     The Defendant was and is doing business within the State of Illinois and has established

            the necessary minimal contacts within the State of Illinois.

                     3.     At the said times and places, the Plaintiff's Decedent, DAVID C. HELLMER,SR., was lawfully

            on the premises owned and operated by the Defendant.

                     4.     At all times complained of herein, the Defendant had a duty to exercise reasonable care

            in the ownership and maintenance of its premises so that those lawfully invited upon the premises,

            including the Plaintiff's Decedent, would not be injured.

                     5.     At the time and places aforesaid, the Plaintiff's Decedent, due to the negligence of the

            Defendant, as will be more specifically alleged hereinafter, was caused to work with and/or around

            asbestos and friable asbestos-containing products and was frequently and regularly exposed to friable

            asbestos materials while upon the defendant's premises.

                     6.     Notwithstanding its duties at said times and places, the Defendant was then and there

            guilty of one or more of the following wrongful acts and/or omissions:




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                            (a)      Carelessly and negligently permitted friable asbestos containing products
                                     to be used on its premises, when it knew, or in the exercise of ordinary
                                     care, should have known of the dangerous, deadly and carcinogenic
                                     propensities of asbestos;

                            (b).     Carelessly and negligently failed to provide any or any adequate warnings
                                     of the dangers of asbestos when it knew or in the exercise of ordinary
                                     care, should have known of the dangerous, deadly and carcinogenic
                                     propensities of asbestos, and that the Plaintiff's Decedent did not know
                                     of said dangers;

                            (c)      Otherwise, carelessly and negligently allowed the Plaintiff's Decedent to
                                     be exposed to asbestos when it knew or in the exercise of ordinary care,
                                     should have known of the dangerous, deadly and carcinogenic
                                     propensities of asbestos and that the Plaintiff's Decedent was being
                                     exposed to asbestos on its premises;

                            (d)      Otherwise carelessly and negligently failed to exercise reasonable care
                                     for the safety of those lawfully upon its premises, including the Plaintiff's
                                     Decedent.

                    7.       The said frequent and regular exposure to asbestos dust and asbestos fibers on the

            Defendant's premises has directly and proximately caused the Plaintiff's Decedent, DAVID C. HELLMER,

            SR., to develop an asbestos-related disease, specifically, Mesothelioma, and these injuries were not

            discovered until January 9, 2019, and which caused his death on March 2, 2019.

                    8.       WANDA M. HELLMER, Special Administrator of the Estate of DAVID C. HELLMER, SR.,

            Deceased, brings this action for use and benefit of the surviving heirs of the Decedent:

                                                              Surviving Heirs

                                         WANDA M. HELLMER . -                   Spouse
                                         HEDWIG HELLMER     -                   Child
                                         KEN HELLMER        -                   Child
                                         MAGDALEN HELLMER   -                   Child

                    9.       By reason of the wrongful death of the Plaintiff's Decedent,the aforesaid next-of-kin have

            been caused to suffer great pecuniary losses and have been deprived of valuable service which the

            Deceased, DAViD C. HELLMER, SR., was accustomed to perform but for his death.

                    WHEREFORE,the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased, demands judgment against the Defendant, KELSEY-HAYES COMPANY, in an

            a mount in excess of the jurisdictional amount.


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                                                               COUNT 12

                     NOW COMES the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

            H ELLMER, SR., Deceased, by and through her attorneys, COONEY AND CONWAY, and complaining of the

            Defendant, KELSEY-HAYES COMPANY, alleges and says:

                    1-7.     Plaintiff adopts and re-alleges paragraphs 1-7 of Count 11 as paragraphs 1-7 of Count 12

            as though fully set forth herein.

                    8.       WANDA M. HELLMER is the duly appointed Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased.

                    9.      Plaintiff brings this action pursuant to the Illinois Survival Act, 755 ILCS 5/27-6, for the

            disability, physical and mental suffering of Plaintiff's Decedent following, and as a result of the aforesaid

            wrongful acts and/or omissions of each of the Defendants.

                    WHEREFORE, the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased, demands judgment against the Defendant, KELSEY-HAYES COMPANY, in an

            a mount in excess of jurisdictional amount, plus costs.

                                                               COUNT 13

                    NOW COMES the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased, by and through her attorneys, COONEY AND CONWAY, and complaining of the

            Defendants, PNEUMO-ABEX, as Successor-in-Interest to Abex Corporation and METROPOLITAN LIFE

            I NSURANCE CO., alleges and says:

                    1.      DAVID C. HELLMER, SR. contracted Mesothelioma as a result of his exposure to asbestos.

                    2.      Before Plaintiff's Decedent worked with Defendants' products at the aforesaid jobsites,

           each of the Defendants knew that exposure to asbestos caused serious disease and death.

                    3.      Asbestos was present, and rendered airborne, at the aforesaid jobsites.




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                    4.       Unarco Industries, Inc., Johns-Manville Corporation, Johns-Manville Sales Corporation,

            Raymark Industries, Inc. (formerly Raybestos-Manhattan, Inc.), Owens Corning, Pittsburgh Corning

            Corporation, United States Gypsum and T & N Ltd., are corporations, and they, or their corporate

            predecessors, were during the time relevant to the allegations herein, in the business of manufacturing

            and distributing asbestos and asbestos-containing products.

                    5.       Defendant, PNEUMO-ABEX,as Successor-in-Interest to Abex Corporation, is a corporation

            and was, during the times relevant to the allegations herein, itself or through predecessors, in the business

            of manufacturing and distributing asbestos-containing products.

                    6.      Defendant, METROPOLITAN LIFE INSURANCE COMPANY, is a corporation.

                    7.      Hereafter "Conspirators" refers to each of the corporations named in paragraphs 4

            through 6.

                    8.      DAVID C. HELLMER,SR. was exposed to asbestos, including asbestos from one or more of

            the Conspirators.

                    9.      Exposure to asbestos is a cause of serious disease and death, including asbestosis and

            malignancies.

                    10.     The Mesothelioma from which DAVID C. HELLMER,SR. suffered is an invisible injury which

            resulted from the total and cumulative effect of all the asbestos to which he was exposed.

                    11.     Before DAVID C. HELLMER, SR.'s exposure to asbestos, Conspirators knew that exposure

            to asbestos caused serious disease and death.

                    12.     Conspirators knew that individuals exposed to asbestos were ignorant of the hazardous

            properties of asbestos.

                    13.     Before and during his exposure to asbestos, DAVID C. HELLMER, SR., was unaware that

            exposure to asbestos caused serious disease and death.




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                     14.      The knowledge of the Conspirators included the following:

                             (a)      two or more Conspirators had been in the asbestos business for years
                                      and had directed manufacturing operations;

                             (b)      each had actual knowledge of asbestos disease and death among workers
                                      exposed to asbestos as early as the 1940's.

                     15.      Conspirators knew that asbestos was inherently dangerous and knew that under the

            decisional law of Illinois and other states, each was under a duty not to sell asbestos without providing

            adequate warning of its harmful qualities.

                     16.     Conspirators had employees who were exposed to asbestos dust and each of them had a

            statutory, regulatory, and decisional law duty to provide their employees with a safe place to work, or at

            the least, to warn the employees of the hazards presented by the presence of asbestos dust.

                     17.     Conspirators knew that if they adequately warned their own employees and other

            persons who were at risk of asbestos disease, the publication of such warning would cause workers to

            leave the industries using asbestos and therefore reduce the sale and usage of asbestos and cause those

            who were exposed through household and neighborhood exposures to press for the cessation of such

            exposures.

                     18.     Conspirators knowingly conspired and agreed among themselves to, among others:

                             (a)     positively assert that which was not true, that it was safe for people to be
                                     exposed to asbestos and asbestos-containing products;

                             (b)     suppress information about the harmful effects of asbestos causing
                                     people to be ignorant of that information.

                    19.      One or more of the Conspirators performed the following overt acts in furtherance of the

            conspiracy:

                             (a)     sold asbestos products which were used at locations within the state of
                                     Illinois, where DAVID C. HELLMER, SR. worked without warning of the
                                     hazards known to the seller;




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..
                             (b)     refused to warn its own employees about the hazards of asbestos known
                                     to it; among the employees who were not warned were those who
                                     worked within the state of Illinois;

                            (c)      edited and altered the reports and drafts of publications initially
                                     prepared by Dr. Lanza concerning the hazards of asbestos during the
                                     1930's;

                            (d)      agreed in writing not to disclose the results of research on the effects of
                                     asbestos upon health unless the results suited their interests;

                            (e)      obtained an agreement in the 1930's from the editors of ASBESTOS, the
                                     only trade magazine devoted exclusively to asbestos, that the magazine
                                     would never publish articles on the fact that exposure to asbestos caused
                                     disease, and sustained this agreement into the 1970's;

                            (f)      suppressed the dissemination of a report by Dr. Gardner in 1943 which
                                     was critical of the concept that there was a safe level of asbestos
                                     exposure;

                            (g)     through their control of the Asbestos Textile Institute (ATI), defeated
                                    further study of health of workers when William Hemeon graphically
                                    demonstrated the need for such study and dissemination of information
                                    in the 1940's;

                            (h)      edited and altered the reports and drafts of publications regarding
                                     asbestos and health initially prepared by Dr. Vorwald during 1948-1951;

                            (i)     suppressed the results of the Fibrous Dust Studies conducted during
                                    1966-74 by Industrial Hygiene Foundation, John-Manville, Raybestos
                                    Manhattan, Owens Corning, Pittsburgh Corning Corporation and PPG
                                    Industries, which results demonstrate and confirmed that exposure to
                                    asbestos caused cancer and asbestosis.

                    20.     The agreement and the acts done in furtherance of the agreement, including those

            performed in the State of Illinois, were proximate causes of the injury, specifically Mesothelioma, and the

            death of DAVID C. HELLMER, SR..

                    21.     DAVID C. HELLMER, SR. died on March 2, 2019.

                   , 22.    The next of kin of Decedent are:

                                                         Surviving Heirs

                                        WANDA M. HELLMER                     Spouse
                                        HEDWIG HELLMER               -       Child
                                        KEN HELLMER                  -       Child
                                        M AGDALEN HELLMER                    Child




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                     23.      DAVID C. HELLMER, SR. was a person of value.

                     24.      As a result of his death, his family and next of kin have suffered a loss of the love, affection,

            care, attention, comfort, guidance, protection, assistance in rearing children, money, goods, and services

             which he would have contributed to them had he lived.

                     25.      WANDA M. HELLMER brings this action pursuant to 740 ILCS 180/2 (2005).

                     WHEREFORE, the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased, demands judgment against the Defendants, PNEUMO-ABEX, as Successor-in-

            Interest to Abex Corporation and METROPOLITAN LIFE INSURANCE CO.,jointly and severally, in an amount

            in excess of jurisdictional amount, plus costs.

                                                                 COUNT 14

                     NOW COMES the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased, by and through her attorneys, COONEY AND CONWAY, and complaining of the

            Defendants, PNEUMO-ABEX, as Successor-in-Interest to Abex Corporation and METROPOLITAN LIFE

            I NSURANCE CO., alleges and says:

                     1-21.   Plaintiff repeats and re-alleges paragraphs 1-21 of Count 13 as paragraphs 1-21 of Count

            14 as though fully set forth herein.

                     22.     DAVID C. HELLMER, SR. was ill from Mesothelioma for a period before his death.

                    23.      Neither Decedent nor Plaintiff knew or should have known that Decedent had

            Mesothelioma prior to January 9, 2019.

                    24.      Plaintiff brings this action pursuant to the Illinois Survival Act, 755 ILCS 5/27-6, for the

            disability, physical and mental suffering of Plaintiff's Decedent following, and as a result of, the aforesaid

            wrongful acts and/or omissions of each of the Defendants.




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                     WHEREFORE, the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased, demands judgment against the Defendants, PNEUMO-ABEX, as Successor-in-

            Interest to Abex Corporation and METROPOLITAN LIFE INSURANCE CO.,jointly and severally, in an amount

            in excess of jurisdictional amount, plus costs.




                                                                 Respectfully submitted,

                                                                 COONEY AND CONWA                DocuSigned by:



                                                                 By:                             F4A4d041345254BB

                                                                       Attorneys for Plaintiff



            Lawrence R. Weisler
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                                                                                                                    Case Number 2020L 000345
            19-0074M LRW/ms                                                                                            Date: 3/16/2020 10:17 AM
                                                                                                                                  Mark Von Nida
                                                                                                                           Clerk of Circuit Court
            STATE OF ILLINOIS        )                                                           Third Judicial Circuit, Madison County Illinois

                             )§
            COUNTY OF MADISON)

                                             IN THE CIRCUIT COURT, THIRD JUDICIAL CIRCUIT
                                                      MADISON COUNTY, ILLINOIS

             WANDA M. HELLMER, Special Administrator of the                        I N RE: ASBESTOS LITIGATION
             Estate of DAVID C. HELLMER, SR., Deceased,
                                                                                   NO: 2020L 000345
                                         Plaintiff,

                      VS.


             A.O. SMITH CORPORATION, et al.,

                                         Defendants.

                                     ROUTINE MOTION TO APPOINT SPECIAL ADMINISTRATOR

                     NOW COMES the Plaintiff, WANDA M. HELLMER, Special Administrator of the Estate of DAVID C.

            HELLMER, SR., Deceased, by and through her attorneys, COONEY AND CONWAY, and moves this

            Honorable Court for an Order appointing WANDA M. HELLMER, pursuant to Section 2.1 of the Wrongful

            Death Act (740 ILCS 180/2.1) and the Survival Act of Illinois (755 ILCS/5/27-6), and in support thereof,

            states as follows:

                     1.      The Plaintiffs Decedent, DAVID C. HELLMER, SR., died on March 2, 2019.

                    2.       The sole asset of DAVID C. HELLMER, SR.'s estate is a cause of action.

                    3.        No petition for letters of office has been filed for his estate.

                    4.        WANDA M. HELLMER is qualified to serve as Special Administrator in this action under the

            laws of the State of Illinois.

                    5.       At his death, DAVID C. HELLMER,SR. left the following heirs:

                                             WANDA M. HELLMER                    Spouse
                                             HEDWIG HELLMER                      Child
                                             KEN HELLMER                         Child
                                             MAGDALEN HELLMER                    Child

                    6.       Pursuant to rule, Plaintiffs counsel has provided notice to the last known address of

           each of the DAVID C. HELLMER, SR.'s heirs and/or legatees.




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